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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION


  UNITED STATES OF AMERICA
  ex rel., CHRISTINE H. OHA,

         Plaintiffs,

  vs.                                                Case No.: 2:15-cv-350-FtM-29CM

  ADVANCED PAIN MANAGEMENT
  AND SPINE SPECIALISTS OF CAPE
  CORAL AND FORT MYERS, DR.
  MICHAEL A. FREY, DR. JONATHAN
  S. DAITCH, PARK CENTER FOR
  PROCEDURES, LLC, INSYS
  THERAPEUTICS, INC. (SUBSYS),
  NEUROTHERM, INC., MEDTRONIC,
  INC., JAZZ PHARMACEUTICALS, INC.,
  ALLERGAN, INC., DEPOMED, INC.,
  A&G SPINAL SOLUTIONS, INC.,
  IPS OF FORT MYERS, LLC,

        Defendants.
  _____________________________________/

    THE UNITED STATES OF AMERICA’S MOTION TO LIFT SEAL ON
  CERTAIN DOCUMENTS FILED SUBSEQUENT TO THE UNITED STATES’
                   NOTICE OF INTERVENTION

         The United States of America, having already notified this Court of its

  intervention decision on January 9, 2019, respectfully requests that the seal be lifted

  with respect to certain documents filed subsequent to that January 9, 2019

  intervention decision. Counsel for Relator advises that she consents to the relief

  sought herein.
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                                   BACKGROUND

         Relator, Christine Oha, filed this qui tam action pursuant to the FCA, as

  amended, 31 U.S.C. '' 3729-3733, on June 12, 2015. Complaint at Dkt. No. 1.

  Relator’s complaint named a number of defendants including: Advanced Pain

  Management Specialists of Cape Coral and Fort Myers (“Advanced Pain

  Management”), Dr. Michael A. Frey, Dr. Jonathan Daitch, Park Center for

  Procedures, LLC (“Park Center”), Insys Therapeutics Inc., Neurotherm, Inc.,

  Medtronic, Inc., Jazz Pharmaceuticals, Inc., Allergan Inc., Depomed, Inc., A&G

  Spinal Solutions, Inc., and IPS of Fort Myers.

         Pursuant to section 3730(b) of the FCA and this Court’s orders extending the

  seal deadline, Relator’s complaint remained under seal while the United States

  investigated the allegations in order to determine whether it would intervene and for

  which defendants. According to this Court’s January 9, 2019 Order, the extension

  period ended on January 21, 2019.

         On May 11, 2018, Defendant Dr. Frey entered into a Settlement Agreement

  with the United States and Relator with respect to certain covered conduct defined in

  the agreement.

         On December 14, 2018, Dr. Daitch, Advanced Pain and Park Center entered

  into a Settlement Agreement with the United States and Relator with respect to

  certain covered conduct defined in the agreement.

         Following those settlements, on January 9, 2019, the United States filed with

  the Court its “Notice of Partial Intervention for the Purposes of Settlement and

  Declination as to the Remaining Defendants.” Dkt. No. 2 (“Notice of


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  Intervention”). As part of that notice, the United States notified the Court that it was

  intervening against Dr. Frey, Advanced Pain Management, Park Center and Dr.

  Daitch for the purposes of settlement and would be subsequently dismissing the

  action pursuant to the terms of the settlement agreement. In addition, the United

  States notified the Court of its decision to decline to intervene in the action with

  respect to the remaining defendants named in the complaint including Insys

  Therapeutics Inc., Neurotherm, Inc., Medtronic, Inc., Jazz Pharmaceuticals, Inc.,

  Allergan Inc., Depomed, Inc., A&G Spinal Solutions, Inc., and IPS of Fort Myers.

         As part of that Notice of Intervention, the United States requested that

  “Relator’s Complaint, this Notice, and any Order issued as a result of this notice be

  unsealed” and that all other papers currently on file with the Court remain under

  seal. On March 13, 2019, the Court granted that motion and lifted the seal. See

  Dkt. No. 3.

         However, following the United States’ Notice of Intervention, but before the

  Court’s March 13, 2019 Order, certain documents were filed with the Court that

  otherwise would have been filed on the public docket. These include: (1) the United

  States of America’s Notice of Settlement With Certain Defendants filed on January

  9, 2019, and (2) a stipulation of voluntary dismissal of defendants Dr. Frey, Dr.

  Daitch, Advanced Pain Management, and Park Center filed on January 10, 2019.

  The United States now seeks an order form the Court lifting the seal on these specific

  documents filed subsequent to the United States’ Notice of Intervention.

         The United States= request to lift the seal in this case for the documents filed

  subsequent to the United States’ Notice of Intervention, accords with the purpose of


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  the seal provision: to advance investigations of fraud by the United States. Under

  section 3730(b) of the FCA, qui tam complaints are filed under seal so that the United

  States has Aan adequate opportunity to fully evaluate the private enforcement suit

  and determine both if the suit involves matters the Government is already

  investigating and whether it is in the Government=s interest to intervene and take

  over the civil action.@ See Legislative history of the FCA, S. Rep. 99-345, 99th

  Cong., 2d Sess., reprinted in 1986 U.S. Code Cong. & Admin. News 5266, 5289.

            Accordingly, once the United States made its intervention decision on

  January 9, 2019, there is no purpose in having any subsequently filed documents

  remain under seal. Pursuant to Rule 3.01(g), the United States consulted with

  counsel for Relator and she indicated that Relator consents to the relief requested

  herein.




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                                      CONCLUSION

         For the foregoing reasons, the United States respectfully requests that the seal

  on this qui tam action be partially lifted with respect to (1) the United States of

  America’s Notice of Settlement With Certain Defendants filed on January 9, 2019,

  and (2) a stipulation of voluntary dismissal of defendants Dr. Frey, Dr. Daitch,

  Advanced Pain Management, and Park Center filed on January 10, 2019.



                                                       Respectfully Submitted,

                                                       MARIA CHAPA LOPEZ
                                                       United States Attorney


                                               By:     s/ Kyle S. Cohen
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                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 30, 2019, a true and correct copy of the

  foregoing motion was sent by United States mail to the following parties:


         Katherine Earle Yanes
         100 South Ashley Drive, Suite 1300
         Tampa, FL. 33602
         KYanes@kmf-law.com
         Attorney for Relator


                                                   s/ Kyle S. Cohen
                                                   KYLE S. COHEN
                                                   Assistant United States Attorney




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